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UNITED STATES DISTRICT COURT for the
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X
STEPHEN REICH, in his fiduciary capacity as a Trustee for the :
LABORERS LOCAL 754 WELFARE FUND, PENSION FUND,                :
SAVINGS FUND, ANNUITY FUND, INDUSTRY ADVANCEMENT :                   21-CV-9327
FUND, NY HEALTH AND SAFETY FUND OF NORTH AMERICA,             :
NYS LECET FUND, NYSLPA FUND, LABORERS’ TRAINING FUND, :              (Karas, J.)
754 LABOR MANAGEMENT COMMITTEE, and 754/CONTRACTORS :                (Krause, M.J.)
ORGANIZING & DEVELOPMENT FUND; and STEPHEN REICH as :
the Business Manager of the LABORERS LOCAL UNION 754,         :
                                                              :
                                 Plaintiffs,                  :
                                                              :
                     - against -                              :
                                                              :
CASABELLA LANDSCAPING, INC.,                                  :
                                                              :
                                 Defendant.                   :
---------------------------------------------------X



                PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR TURNOVER ORDER




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                                PRELIMINARY STATEMENT

               Plaintiffs submit this Memorandum of Law in support of its Motion for a Turnover

Order pursuant to Fed. R. Civ. P. 69 and Section 5225(b) of the Civil Practice Law and Rules

(“CPLR”), compelling Orange Bank and Trust Company (“Orange Bank” or “Garnishee”) to turn

over certain funds that at all times material to this motion, were in its possession and in which

Defendant-Judgment Debtor Casabella Landscaping, Inc. (“Casabella Landscaping,” “Judgment

Debtor,” or “Defendant”) has an interest. Plaintiffs include Stephen Reich, in his fiduciary capacity

as a Trustee for the Laborers Local 754 Welfare Fund, Pension Fund, Savings Fund, Annuity Fund,

Industry Advancement Fund, NY Health and Safety Fund of North America, NYS LECET Fund,

NYSLPA Fund, Laborers’ Training Fund, 754 Labor Management Committee, and

754/Contractors Organizing & Development Fund (collectively, the “Funds”), and as the Business

Manager of the Laborers Local Union 754 (“LOCAL 754”). Plaintiffs filed a lawsuit against

Defendants Casabella Contracting of NY, Inc. (“Casabella Contracting”), a signatory to LOCAL

754’s collective bargaining agreement, Casabella Landscaping, Inc., Hudson Insurance Co. a/k/a

Hudson Insurance Group (“Hudson”), Doe General Contractor, and Doe Surety Company for a

violation of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29

U.S.C. §§ 1001, et seq., the Labor-Management Relations Act of 1947 (“LMRA”), 29 U.S.C. §§

141 et seq., the New York Lien Law, N.Y. Lien L. § 70, and common law to enforce their rights

under LOCAL 754’s collective bargaining agreement and the law. See ECF No. 1. The claims

against Casabella Contracting were severed from the case and stayed pending the bankruptcy of

Casabella Contracting. See ECF No. 60. The claims against Casabella Landscaping and Hudson

continued through to judgment and settlement respectively. See 4/21/23 Docket Entry; ECF No.

103.

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               Plaintiffs obtained a default judgment against Casabella Landscaping in this action

in the total amount of $252,695.58 (the “Judgment”). See ECF No. 103. Plaintiffs have not

recovered any portion of the Judgment. Through post-judgment discovery and enforcement efforts,

Plaintiffs have identified assets of Casabella Landscaping, namely, $7,122.78 in bank accounts

maintained by Casabella Landscaping that are currently in the possession or custody of Garnishee

Orange Bank. Plaintiffs now move for a turnover order to compel Orange Bank to turn over to

Plaintiffs all assets of Casabella Landscaping in its possession or custody to enforce the Judgment.

               This Court should grant Plaintiffs’ Motion for a Turnover Order pursuant to CPLR

§ 5225(b) and Fed. R. Civ. P. 69 because Casabella Landscaping, as the judgment debtor, has an

interest in, and is entitled to the possession of the assets being held by Garnishee Orange Bank. In

the alternative, Plaintiffs’ rights to the funds are superior to those of Orange Bank and Casabella

Landscaping. Additionally, it is appropriate for this Court to enter such an order since this Court

may exercise personal jurisdiction over Orange Bank. Therefore, Plaintiffs respectfully request

that the Court order Orange Bank to turn over to Plaintiffs the sum of $7,122.78, representing the

monies contained in Casabella Landscaping’s accounts.

                                   STATEMENT OF FACTS

               On August 29, 2023, this Court entered a default judgment (the “Judgment”)

against Defendant Casabella Landscaping and in favor of Plaintiffs in the amount of $252,695.58.

Decl. Katherine M. Morgan, Esq. in Supp. Pls’ Mot. Turnover Order (hereinafter “Morgan Decl.”),

¶ 18; Ex. A.

               Through information obtained during the course of this litigation and Plaintiffs’

enforcement efforts, Plaintiffs identified Orange Bank as an entity with information concerning

Casabella Landscaping. Morgan Decl., ¶ 23. Orange Bank is a New York state-chartered trust



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company headquartered in Middletown, New York that operates 17 offices exclusively in this

state, including in Orange, Westchester, Rockland, and Bronx Counties. Id., ¶¶ 29-30, Ex E.

               On October 27, 2023, Plaintiffs served Orange Bank a restraining notice and

information subpoena pursuant to CPLR §§ 5222, 5224 (the “Restraining Notice and Info

Subpoena”) seeking information concerning any assets of Casabella Landscaping within its

possession or custody. Id., ¶ 23; see Ex. C. In its November 2, 2023 response to the Restraining

Notice and Info Subpoena (the “Response”), Orange Bank stated that it is holding funds totaling

$7,122.78 in three accounts maintained by Casabella Landscaping. Morgan Decl., ¶ 24-25, Ex. D,

p. 2. Orange Bank also identified one additional active account containing $0.00 and one closed

account maintained by Casabella Landscaping. Id. Orange Bank declared in its Response that these

assets were not subject to any liens, attachments or other encumbrances. See Ex. D, pgs. 3-4.

Accordingly, pursuant to the restraining notice and CPLR § 5222(b), Garnishee Orange Bank is

on notice that it “is forbidden to make or suffer any sale, assignment, or transfer of, or any

interference with,” the $7,122.78 in which Casabella Landscaping, as Judgment Debtor, has an

interest (the “Restrained Funds”). See Morgan Decl., ¶¶ 25-26; Ex. D. Plaintiffs have not recovered

any portion of the Judgment. See Morgan Decl., ¶ 19. To date, there is an amount of $252,695.58

outstanding on the Judgment. Id., ¶ 20.

               Plaintiffs now respectfully submit this motion for a turnover order, compelling

Orange Bank to turn over the sum of $7,122.78 that is being held in the three bank accounts

maintained by Casabella Landscaping at the Dolson Avenue branch.

                                          ARGUMENT

               Given Casabella Landscaping’s failure to satisfy the judgment rendered against it,

this Court should grant Plaintiffs’ Motion for a Turnover Order. Rule 69 of the Federal Rules of



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Civil Procedure governs the enforcement of a money judgement in federal court. “Rule 69(a)(1)

provides, in relevant part, that the ‘procedure on execution’ in federal court upon a money

judgment ‘must accord with the procedure of the state where the court is located.’” Mitchell v.

Garrison Protective Servs., 819 F.3d 636, 638 (2d Cir. 2016) (quoting Fed. R. Civ. P. 69(a)(1)).

Accordingly, this motion is governed by the procedures set forth in New York’s Civil Practice

Law and Rules.

               “Article 52 of New York’s Civil Practice Law and Rules (“CPLR”) governs the

enforcement and collection of money judgments in New York.” Teamsters Local 456 Pension,

Health & Welfare, Annuity, Educ. & Training, Indus. Advancement & Legal Servs. Funds v. CRL

Transp., Inc., No. 18-CV-2056 (KMK), 2020 U.S. Dist. LEXIS 116669, at *8 (S.D.N.Y. July 2,

2020) (citing N.Y. C.P.L.R. §§ 5201-53). CPLR § 5225(b) allows a judgment creditor to

commence a “special proceeding” “to seek an order requiring that a nonparty turn over funds or

property [in its possession or custody] in which the judgment debtor has an interest.” N.Y. C.P.L.R.

§ 5225(b); Major League Baseball Props. Inc. v. Corp. de TV, No. 19 Civ. 8869 (MKV) (GWG),

2023 U.S. Dist. LEXIS 13226, at *4 (S.D.N.Y. Jan. 26, 2023), adopted, 2023 U.S. Dist. LEXIS

50729 (S.D.N.Y. Mar. 24, 2023). Fed. R. Civ. P. 69(a) renders CPLR § 5225(b) applicable in

federal court. Id. (citing Alliance Bond Fund, Inc. v. Grupo Mexicano de Desarrollo, S.A., 190

F.3d 16, 20-21 (2d Cir. 1999) (applying § 5225(b) pursuant to Rule 69(a)); HBE Leasing Corp. v.

Frank, 48 F.3d 623, 633 (2d Cir. 1995) (section 5225(b) is made ‘applicable in the District Court

via Fed. R. Civ. P. 69(a)”); Deflora Lake Dev. Assocs. v. Hyde Park, 2016 U.S. Dist. LEXIS

193862, 2016 WL 7839191, at *1 (S.D.N.Y. June 9, 2016) (applying § 5225 as a whole pursuant

to Rule 69(a)). However, because, “there is no such thing as a ‘special proceeding’ in federal

court,” Mitchell, 819 F.3d at 640, “a party seeking a money judgment against a non-party garnishee



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may proceed by motion and need not commence a special proceeding, as long as the court has

personal jurisdiction over the garnishee.” Major League Baseball Props. Inc., 2023 U.S. Dist.

LEXIS 13226, at *5 (quoting CSX Transp., Inc. v. Island Rail Terminal, Inc., 879 F.3d 462, 469

(2d Cir. 2018)).

           In determining whether to grant a Rule 69(a) motion for a turnover proceeding pursuant

to CPLR § 5225(b), courts apply the same standard as that of a motion for summary judgment. See

id. at *7 (“A motion under Rule 69(a) is treated like a summary judgment motion”) (quoting

Axginc Corp. v. Plaza Automall Ltd., 2021 U.S. Dist. LEXIS 51498, 2021 WL 1030228, at *7

(E.D.N.Y. Mar. 2, 2021), adopted, 2021 U.S. Dist. LEXIS 50744, 2021 WL 1026497 (E.D.N.Y.

Mar. 17, 2021)). Summary judgment is granted when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Accordingly, on a Rule 69(a) motion, “a court may grant summary relief where there

are no questions of fact[.]” HBE Leasing Corp., 48 F.3d at 633 (citations omitted). The court must

“decide the matter ‘upon the pleadings, papers and admissions to the extent that no triable issues

of fact are raised.’” Gonzalez v. City of New York, 127 A.D.3d 632, 8 N.Y.S.3d 290, 291 (1st

Dep’t 2015) (quoting Karr v. Black, 55 A.D.3d 82, 86, 863 N.Y.S.2d 26 (1st Dept 2008), lv denied

11 N.Y.3d 712, 900 N.E.2d 557, 872 N.Y.S.2d 74 (2008)). This Court has personal jurisdiction

over Garnishee Orange Bank. Accordingly, this Court should grant Plaintiffs’ Motion for a

Turnover Order because Casabella Landscaping, as Judgment Debtor, has an interest in, and is

entitled to the possession of the funds held by Orange Bank.




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   I.     PLAINTIFFS ARE PERMITTED TO SEEK A TURNOVER ORDER AGAINST
          GARNISHEE ORANGE BANK VIA MOTION BECAUSE THIS COURT HAS
          PERSONAL JURISDICTION OVER ORANGE BANK

            A judgment creditor may seek to recover a money judgment from a non-party garnishee

by motion so long as the court has personal jurisdiction over the garnishee. Major League Baseball

Props. Inc., 2023 U.S. Dist. LEXIS 13226, at *5. This Court has personal jurisdiction over entities

domiciled in New York, including companies residing in the State of New York. See Advanced

Video Techs. LLC v. HTC Corp., No. 11 Civ. 06604 (CM), 2019 U.S. Dist. LEXIS 138394, at

*31-32 (S.D.N.Y. Aug 12, 2019) (finding that the Court has personal jurisdiction over a New York

corporation and New York limited liability company residing in New York because they are

domiciled in New York); Teamsters Local 456, 2020 U.S. Dist. LEXIS 116669, at *24 n.5 (finding

that S.D.N.Y. has personal jurisdiction over a New York corporation); see also Brown v. Lockheed

Martin Corp., 814 F.3d 619, 622 n.1 (2d Cir. 2016) (“A state has such general jurisdiction over its

residents”). “Courts within the Second Circuit have consistently held that a business entity’s

residence is determined by its principal place of business.” (Petroholding Dominicana, Ltd. v.

Gordon, 2019 U.S. Dist. LEXIS 92421, at *15 (S.D.N.Y. June 3, 2019) (quoting Woori Bank v.

Merrill Lynch, 923 F. Supp. 2d 491, 494 (S.D.N.Y.), aff’d 542 F. App’x 81 (2d Cir. 2013)

(summary order). Here, this Court has personal jurisdiction over Garnishee Orange Bank because

it is a New York state-chartered trust company residing in New York. Morgan Decl. ¶ 29-31; Ex.

E. Orange Bank is headquartered in Middletown, New York and it operates its 17 offices

exclusively in New York State. Morgan Decl., ¶ 30. Thus, this Court has personal jurisdiction over

Garnishee Orange Bank, and Plaintiffs, as the judgment creditor, are permitted to seek a turnover

order against Orange Bank by motion.




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   II.   THIS COURT SHOULD ISSUE A TURNOVER ORDER COMPELLING
         ORANGE BANK TO RELEASE THE FUNDS TO PLAINTIFFS BECAUSE
         CASABELLA LANDSCAPING, AS THE JUDGMENT DEBTOR, HAS AN
         INTEREST IN, AND IS ENTITLED TO THE POSSESSION OF SUCH FUNDS

           To prevail on a motion for a turnover order pursuant to CPLR § 5225(b), a judgment

creditor must show that: (1) “the judgment debtor ‘has an interest’ in the property the creditor

seeks to reach[,]” and (2) either “that the judgment debtor ‘is entitled to the possession of such

property,’” or “that ‘the judgment creditor’s rights to the property are superior’ to those of the

party in whose possession it is.” Beauvais v. Allegiance Secur., Inc., 942 F.2d 838, 840 (2d Cir.

1991) (quoting N.Y. C.P.L.R. § 5225(b)). This is a two-step analysis, and the judgment creditor

must demonstrate both steps before the Court may order the garnishee to turn over the property.

Id. (citing Key Lease Corp. v. Manufacturers Hanover Trust Co., 117 A.D.2d 560, 561-62, 499

N.Y.S.2d 66, 68 (1st Dep’t 1986)); see Axginc Corp. Formerly Known as Axis Grp. V. Plaza

Automall, Ltd., 2022 U.S. Dist. LEXIS 90477 at *24 (E.D.N.Y. Feb. 20, 2022), adopted sub nom,

Axginc Corp. v. Plaza Automall, Ltd., 2022 U.S. Dist. LEXIS 90431 (E.D.N.Y. May 19, 2022)

(“Plaintiff has the burden of proof as to both steps of a Section 5225(b) analysis). Here, Casabella

Landscaping, as Judgment Debtor, is the owner of the restrained accounts and therefore has an

interest in the funds within them. Additionally, Casabella Landscaping is entitled to the possession

of the funds because there is no prior encumbrance on the funds.

   A.      The Judgment Debtor, Casabella Landscaping, has an Interest in the Funds

           As to the first prong, “[a] debtor obviously has an interest in its own money or property

held by a third party.” Beauvais, 942 F.2d at 841. “Under New York law, ‘[w]hen a party holds

funds in a bank account, possession is established, and the presumption of ownership follows.’”

Axginc Corp. Formerly Known as Axis Grp., 2022 U.S. Dist. LEXIS 90477, at *27 (quoting

Karaha Bodas Co., L.L.C. v. Perusahaan Pertambangan Minyak Dan Gas Bumi Negara

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(“Pertamina I”), 313 F.3d 70, 86 (2d Cir. 2002)); see In re Suntech Power Holdings Co., Ltd., 520

B.R. 399, 411 (Bankr. S.D.N.Y. 2014) (holding that a bank account’s titleholder “is its

presumptive owner”).

           Here, Judgment Debtor Casabella Landscaping has an interest in the $7,122.78 that

Plaintiffs seek to collect. In its November 2, 2023 Response, Orange Bank identified five accounts

for which Casabella Landscaping is the titleholder containing amounts totaling $7,122.78. See

Morgan Decl., ¶ 25, Ex. D. As such, Casabella Landscaping is the presumptive owner of the funds

contained in the accounts, and neither Casabella Landscaping nor Orange Bank has rebutted this

presumption of ownership. Thus, Casabella Landscaping has an interest in these funds and the first

prong of the analysis is met.

   B.      The Judgment Debtor is Entitled to Possession of the Funds

           For the entitled to possession prong to be met, “the [judgment debtor] must be able to

retrieve the disputed assets back from [the garnishee].” D.C.A. Grantor Tr. v. Republic of

Argentina, 616 F. App'x 30, 32 (2d Cir. 2015) (citing Swezey v. Lynch, 87 A.D.3d 119, 926

N.Y.S.2d 415, 419 (App. Div. 2011) (“The judgment creditor stands in the shoes of the judgment

debtor, and if a given property, asset, interest, or deposit is unavailable to the debtor, it is

unavailable to the creditor.”)). Generally, the owner of a bank account can retrieve the funds within

it unless such funds are the subject of a prior lien or other prior encumbrance. See Commodities

& Minerals Enter. v. CVG Ferrominera Orinoco, C.A., 423 F. Supp. 3d 45, 51 (S.D.N.Y. 2019)

(“The first part of the second prong is satisfied because as the owner of the [bank] account,

[Judgment Debtor] ‘is entitled to the possession’ of the funds within it.”); Miller v. City of Ithaca,

No. 10-cv-00597 (BKS) (DEP), 2019 U.S. Dist. LEXIS 100863, at *3 (N.D.N.Y. June 17, 2019)

(“[I]f there is a ‘prior lien on the funds,’ the judgment debtor may not be entitled to possession of


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the funds.” (quoting Beauvais, 942 F.2d at 841)); D.C.A. Grantor Tr., 616 F. App’x at 32 (holding

that judgment debtor was not “entitled to the possession” of funds that were frozen to enforce a

prior injunction because the debtor was barred from getting the funds back from the garnishee);

Dussault v. Republic of Argentina, 616 F. App’x 26, 27-28 (2d Cir. 2015) (same). However, a

restraining notice served on a garnishee to set aside funds for satisfaction of the judgment does not

preclude satisfaction of the entitled to possession prong. See Major League Baseball Props., Inc.

v. Corp. de TV, No. 1:19-cv-8669-MKV-GWG, 2023 U.S. Dist. LEXIS 50729, at *3 (S.D.N.Y.

Mar. 24, 2023) (finding that the judgment debtor had actual control over and therefore was entitled

to the possession of the restrained funds); Fabric Selection v. A & T Trading US, Inc., No. 20-mc-

864, 2021 U.S. Dist. LEXIS 23939, at *17 (E.D.N.Y. Feb. 5, 2021), adopted, 2021 U.S. Dist.

LEXIS 40359 (E.D.N.Y. Mar. 3, 2021) (holding that the entitled to possession prong was satisfied

where judgment debtor was the owner of the accounts holding the restrained funds). Rather, a

garnishee who sets aside funds belonging to a judgment debtor pursuant to a restraining notice

“must recognize that [the judgment debtor] would be entitled to possession of the funds. . . .”

Miller, 2019 U.S. Dist. LEXIS 100863, at *6 (holding Plaintiff satisfied the second step of the

inquiry because garnishee set aside funds for the satisfaction of the judgment and there was no

prior lien on the funds).

           Here, Casabella Landscaping is entitled to the Restrained Monies held by Garnishee

Orange Bank because there is no prior encumbrance on the funds. As evidenced by its Response

to the Restraining Notice and Info Subpoena, Orange Bank was on notice that the $7,122.78 it held

in accounts maintained by Casabella Landscaping must be set aside pursuant to CPLR § 5222(b).

See Morgan Decl., ¶ 23; Exs. C & D. Additionally, Orange Bank affirmed that there are no liens,

attachments or other encumbrances on the funds. See Morgan Decl., Ex. D, pgs. 3-4. Since the



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restraining notice does not preclude Plaintiff from satisfying the entitled to possession step of the

inquiry, Plaintiffs have shown that Casabella Landscaping is entitled to the possession of the funds.

See Miller, 2019 U.S. Dist. LEXIS 100863, at *6 (“[B]ecause [Garnishee] set the funds aside for

satisfaction of the judgments, [Garnishee] must recognize that [Defendant] would be entitled to

possession of the funds but for the restraining notice.” There is no contention of “a prior lien on

the funds” held by [Garnishee]. Thus, Plaintiff has satisfied the second step of the inquiry[.]”).

    C.      In the Alternative, if Casabella Landscaping is not Entitled to the Possession of
            the Funds, Plaintiffs’ Rights to the Funds, as Judgment Creditor, are Superior to
            the Rights of Garnishee Orange Bank and Defendant Casabella Landscaping

                Plaintiffs, as the judgment creditor, may satisfy the second prong of the § 5225(b)

analysis by showing that their “rights to the [funds] are superior to those of the party in whose

possession it is.” Beauvais, 942 F.2d at 840 (internal quotations omitted); N.Y. C.P.L.R. § 5225(b).

“New York law assesses superiority of rights ‘based on legal interest in the property.’”

Ladjevardian v. Republic of Argentina, No. 06-cv-3276 (TPG), 2016 U.S. Dist. LEXIS 69348, at

*12 (S.D.N.Y. May 26, 2016) (quoting Dussault, 616 F. App’x at 28). Where a garnishee has no

legal interest or right to the funds in a debtor’s account, a plaintiff with a valid unsatisfied judgment

against a debtor may establish superior rights to the funds. See Fabric Selection v. A & T Trading

US, Inc., 2021 U.S. Dist. LEXIS 23939, at *17, n.2 (E.D.N.Y. Feb. 5, 2021) (finding that plaintiff

had superior rights to the funds held in judgment debtor’s accounts because “Plaintiff obtained a

valid judgment against Judgment Debtor, which the Judgment Debtor has failed to pay,” and

“[Garnishee] has no legal interest or right to Judgment Debtor’s accounts or the funds held within

those accounts”); Trs. of the Pavers v. Cape Mount Heavy Const., No. 22-cv-5050 (KAM) (JRC),

slip op. at 13 (E.D.N.Y. May 29, 2024) (holding that Plaintiffs’ rights to the funds are superior to

that of the garnishee where Plaintiffs had a valid judgment against Defendants that had not been


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satisfied and the garnishee did not claim to have a superior claim to the funds or identify any other

liens or encumbrances on the funds); see also Gill v. Am. Elite Recovery, LLC, No. 1:19-cv-01058,

2022 U.S. Dist. LEXIS 5696, at *9 (W.D.N.Y. Jan. 10, 2022) (“Plaintiffs have established a

‘superior right’ to the funds in question by citing to the default judgment . . . which [Defendant]

failed to satisfy. . . .”). Here, Plaintiffs’ rights to the funds are superior to those of Orange Bank

and Casabella Landscaping because Plaintiffs have a valid judgment against Casabella

Landscaping in the amount of $252,695.58, which has yet to be satisfied, and Orange Bank does

not assert a claim to the funds. See Morgan Decl. ¶ 18. Ex. A; Ex. D. Furthermore, Orange Bank

identifies no other liens or encumbrances on the funds. See Ex. D to the Morgan Decl, pgs. 3-4.

Thus, Plaintiffs’ rights to the funds are superior to those of Garnishee Orange Bank and Defendant

Casabella Landscaping so the second step of the § 5225(b) inquiry is satisfied. See Trs of the

Pavers, No. 22-cv-5050, slip op. at 13 (memorandum and order granting turnover order).

               Given Casabella Landscaping’s failure to satisfy the judgment rendered against it,

this Court should grant Plaintiffs’ Motion for a Turnover Order. It is appropriate for this Court to

enter such an order on Plaintiffs’ motion since this Court may exercise personal jurisdiction over

Orange Bank. Additionally, Casabella Landscaping, as the judgment debtor, has an interest in, and

is entitled to the possession of the assets being held by Garnishee Orange Bank and Plaintiffs’

rights to the funds are superior to those of Orange Bank and Casabella Landscaping.




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                                       CONCLUSION

              For the foregoing reasons, Plaintiffs respectfully request that this Court issue an

order compelling Garnishee Orange Bank to turn over to Plaintiffs the monies held in the bank

accounts maintained by Casabella Landscaping, totaling $7,122.78.

Dated: New York, New York
       August 23, 2024

                                                   Respectfully Submitted,


                                                   /s/ Katherine M. Morgan
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEPHEN REICH, in his fiduciary capacity as a Trustee for the LABORERS LOCAL 754 WELFARE
FUND, PENSION FUND, SAVINGS FUND, ANNUITY FUND, INDUSTRY ADVANCEMENT FUND, NY
HEALTH AND SAFETY FUND OF NORTH AMERICA, NYS LECET FUND, NYSLPA FUND,
LABORERS’ TRAINING FUND, 754 LABOR MANAGEMENT COMMITTEE, 754/CONTRACTORS
ORGANIZING & DEVELOPMENT FUND; and STEPHEN REICH as the Business Manager of the
LABORERS LOCAL UNION 754,
                                                                Plaintiffs,
                                         - against –
CASABELLA LANDSCAPING, INC.,

                                                                Defendants.


      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                       TURNOVER ORDER


                                HOLM & O’HARA LLP

Attorneys for:                         Plaintiff(s)

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